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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT TACOMA

 9    UNITED STATES OF AMERICA,
10
                     Plaintiff,
                                                                  Case No. CR06-5528FDB
11            v.
                                                                  ORDER GRANTING MOTION TO
12
      TIGRA J.A. ROBERTSON,                                       COMPEL LINEUP
13
                     Defendant.
14
            The Government moves for an order compelling Defendant Tigra A. Robertson to submit to
15
     a lineup for identification purposes, and the Defendant has filed a response stating he does not
16
     oppose the motion as to witness Chad Palmer. ACCORDINGLY,
17
            IT IS ORDERED: The Government’s Motion To Compel Lineup [Dkt. # 148] is GRANTED
18
     and the lineup shall take place at a date and place agreed to by the parties, but not later than March
19
     16, 2007.
20
            DATED this 28th day of February, 2007.



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23                                         FRANKLIN D. BURGESS
                                           UNITED STATES DISTRICT JUDGE
24

25

26   ORDER - 1
